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AO 199A (Rev. 12/11- EDCA [Fresno]) Order Setting Conditions of Release
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                                      UNITED STATES DISTRICT COURT
                                                                          for the
                                                 Eastern District of California

UNITED STATES OF AMERICA,

                              v.
                                                                                      Case No.      1:20-mj-00129 EPG
STEPHANIE MADSEN


                                       ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:                        United States District Courthouse
                                                                                            Place

                                                          2500 Tulare Street, Fresno CA 93721

                         December 18, 2020 at 2:00 p.m. in Courtroom 9 (SAB) before Magistrate Judge Stanley A.
      on
                                                             Boone
                                                                            Date and Time


      If blank, defendant will be notified of next appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, if ordered

RELEASED DELAYED UNTIL TUESDAY 12/8/2020 at 8AM
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                                                                      3   3
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December 7, 2020


                                 Dale A. Drozd, U.S. District Judge
